Case 16-18228-ref     Doc 17-1     Filed 01/10/17 Entered 01/10/17 15:51:31             Desc
                                   plan Page 1 of 2


                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE:      JON MARKLEY AND CAROL :                 16-18228
             MARKLEY               :                 CHAPTER 13




                           CHAPTER 13 FIVE YEAR PLAN

 1.     The future earnings of the Debtor are submitted to the supervision and control of
 the Court and the Debtor shall pay to the Trustee the sum of $450.00 for 60 months
 beginning December 2016.

 2.     From the payments so received, the Trustee shall make disbursements as follows:

         a.     The priority payments required by Section 507(a), including but not
 limited to:

                Attorney’s fees – as applied for
                Caliber Home Loans                                   $15,000.00
                U.S. Department of the Treasury                       $4,000.00
                Pennsylvania Department of Revenue                      7,000.00


        b.      Any funds remaining after the above amounts are paid in full:

               Dividends to unsecured creditors whose claims are duly proved and
 allowed on a prorata basis.

 3.     (If applicable) The following executory contracts of the Debtor are rejected:

 4.     Title to the Debtor’s property shall revest in the Debtor upon confirmation of a
 Plan and upon closing of the case pursuant to Bankruptcy Rule 5009.

 5.      By virtue of this Plan, all non-possessory, non-purchase money security interests
 in the household furnishings, goods, wearing apparel, appliances, musical instruments
 and jewelry of the Debtor, which are held primarily for personal, family or household use
 of the Debtor or her dependents, are awarded to the extent such lien impairs the
 exemption interest of the Debtor.

 6.     Payments made outside the Plan: monthly payments in the amount of $725.00 to
 Caliber Home Loans and $ 453.00 to Credit Acceptance and $360.00 to PNC Bank
Case 16-18228-ref     Doc 17-1    Filed 01/10/17 Entered 01/10/17 15:51:31            Desc
                                  plan Page 2 of 2


 commencing subsequent to date Petition filed. Debtor may sell assets and apply the
 proceeds to satisfy claims encumbering said assets.

 Date:_ January 11, 2017             /s/ Jon Markley
                                     Jon Markley, Debtor


 Date:_ January 11, 2017             /s/ Carol Markley
                                     Carol Markley, Debtor


 Date:_January 11, 2017              /s/ Robert Glazer
                                     Robert Glazer, Esq.
                                     Attorney for the Debtor


 Acceptances may be mailed to:       Clerk’s Office
                                     U.S. Bankruptcy Court
                                     Suite 300, The Madison
                                     400 Washington Street
                                     Reading, PA 19601
